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 7

 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NOS. 2:18-CR-010 TLN
                                                                  2:17-CR-234 TLN
12                                Plaintiff,
                                                        STIPULATION AND PROPOSED ORDER TO
13                         v.                           MODIFY TERMS OF SUPERVISED RELEASE

14   EDGAR JIMENEZ and BRENDA MIRANDA,                  DATE: March 1, 2018
                                                        COURT: Hon. Edmund F. Brennan
15                               Defendants.

16

17          The United States of America, through the undersigned Assistant U.S. Attorney, and counsel for

18 Edgar Jimenez and Brenda Miranda hereby stipulate to the proposed modification of a term of

19 supervised release for these two defendants, and ask that the Court order the modification. In support of

20 the request and the proposed order, these parties represent the following.

21          Mr. Jimenez and Ms. Miranda are defendants in two indictments arising from a common

22 investigation; Mr. Jimenez is a defendant in Case No. 2:18-cr-010 TLN, and Ms. Miranda is a defendant

23 in Case No. 2:17-cr-234 TLN. Per earlier orders of this Court, these defendants are participating in

24 residential treatment at the Wellspace Residential Treatment Program (“Wellspace”). Further, both

25 defendants are subject to a special condition of release – generally imposed on all out-of-custody

26 defendants in the indictments arising from the investigation – that they not have contact with any

27 witness or co-defendant. Specifically, Special Condition 10 for Mr. Jimenez provides that he shall not

28 “associate or have any contact with co-defendants unless in the presence of counsel or otherwise

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 1 approved in advance by the pre-trial services officer.” Similarly, Special Condition 10 for Ms. Miranda

 2 provides that she shall not “associate or have any contact with any co-defendants or related case

 3 defendants unless in the presence of counsel or otherwise approved in advance by the pretrial services

 4 officer.” In practice, all defendants in the various related cases are prohibited from having contact with

 5 anyone on a sixty-one person list that the Government has provided to Pretrial Services, which in turn

 6 has provided it to all counsel.

 7          At present, the Special Conditions noted in this stipulation may create an impediment to the

 8 treatment that Mr. Jimenez and Ms. Miranda are now receiving at Wellspace. The parties understand

 9 that these defendants may participate in treatment programs together, and that they may have ordinary,

10 incidental contact due to the size of the facility and their mutual residence there. For this reason, the

11 parties now propose the following modification to Special Conditions 10 for both defendants:

12                  You must not associate or have any contact with any co-defendants,
                    related case defendants, witnesses or other identified individuals as
13                  directed by the Pretrial Services Officer unless in the presence of counsel
                    or otherwise approved in advance by the Pretrial Services Officer;
14                  provided, however, that Edgar Jimenez and Brenda Miranda may
                    communicate with each other about matters reasonably related to the
15                  purpose of their receiving treatment at the Wellspace Residential
                    Treatment Program (“Wellspace”) during that time that both individuals
16                  are residing at Wellspace, and may have those ordinary brief interactions
                    that may arise from the fact of their both residing at Wellspace, but about
17                  no other matters.
18          The parties request that all other terms and conditions of release for these defendants remain in

19 full force and effect. See Dkt. No. 18, 2:18-cr-010 TLN; Dkt. No. 47, 2:17-cr-234 TLN. Further,

20 nothing in this stipulation and proposed order affects any terms or conditions of any other person’s terms

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 1 of supervised release.

 2

 3 Dated: March 1, 2018                                     MCGREGOR W. SCOTT
                                                            United States Attorney
 4

 5                                                  By: /s/ OWEN ROTH
                                                        OWEN ROTH
 6                                                      Assistant United States Attorney
 7 Dated: March 1, 2018
                                                    By: /s/ TODD LERAS
 8                                                      TODD LERAS
                                                        Counsel for Edgar Jimenez
 9

10 Dated: March 1, 2018                             By: /s/ J. TONEY
                                                        J. TONEY
11                                                      Counsel for Brenda Miranda
12

13                                          [PROPOSED] ORDER
14          The Court, having reviewed the aforementioned stipulation and finding that good cause has been

15 shown, orders the modification of Special Conditions 10 applicable to Edgar Jimenez and Brenda

16 Miranda, and adopts the proposed modified condition in the stipulation. All other terms and conditions

17 of release applicable to Mr. Jimenez (Dkt. No. 10, 2:18-cr-010 TLN) and Ms. Miranda (Dkt. No. 47,

18 2:17-cr-234 TLN) remain in full force and effect.

19          In light of this stipulation and order, the earlier submission found at Docket Number 50, Case

20 No. 2:17-cr-234 TLN, is stricken.

21          SO ORDERED.

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23 Dated: March 2, 2018
                                                            Edmund F. Brennan
24                                                          United States Magistrate Judge
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